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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA, ex
rel. ROBERT V. SMITH,

      Qui Tam Plaintiff,

v.                                          CASE NO. 3:20-cv-03678/MCR/EMT

JAY A. ODOM; OKALOOSA
COUNTY, BOARD OF COUNTY
COMMISSIONERS,

      Defendants.
                                      /

   OKALOOSA COUNTY BOARD OF COUNTY COMMISSIONERS’
 NOTICE OF ADOPTING AND JOINING DEFENDANT JAY A. ODOM’S
  MOTION TO DISMISS RELATOR’S AMENDED COMPLAINT AND
      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

      PLEASE TAKE NOTICE that Defendant, Okaloosa County, Board of County

Commissioners (“County”), in response to Relator Robert V. Smith’s (“Relator”)

Amended Complaint, hereby adopts and joins in Defendant Jay A. Odom’s

(“Odom”) Motion to Dismiss Relator’s Amended Complaint and Memorandum in

Support of Motion to Dismiss filed pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6),

[ECF 55 and 56].

      On February 26, 2020, Relator filed an Amended Complaint alleging that

Defendants Odom and the County violated the False Claims Act, 31 U.S.C. §§3729,
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et seq., (“FCA”) and the Florida False Claims Act, Fla. Stat. §§68.081, et seq.

(“Florida FCA”). [ECF 33]. The allegations in the Amended Complaint are made

against both Odom and the County and are based on the same set of facts. The

arguments raised in Odom’s Motion to Dismiss and Memorandum of Law in Support

of Dismissal apply equally to the County.

      For the reasons stated in Odom’s Motion to Dismiss and Memorandum of

Law in Support of Dismissal [ECF 55 - 56], the County respectfully moves this court

to dismiss Relator’s Amended Complaint as set forth in those documents.

                                            Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the             28th   day of September 2022, I

electronically filed the foregoing document with the Clerk of Court using the

CM/ECF system. I also certify that the foregoing document is being served this date

on all counsel of record via transmission of Notices of Electronic Filing generated

by the CM/ECF system to the following counsel of record:

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